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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HEATHER CUCCIA,

                          Plaintiff,                       Case No.

                   -against-                               ECF CASE

HF MANAGEMENT SERVICES LLC                                 NOTICE OF REMOVAL OF
d/b/a HEALTHFIRST, INC. and GENESIS                        CIVIL ACTION
BAYUELO-PERRI,
                Defendants.


TO THE CLERK OF THE COURT:

         PLEASE TAKE NOTICE that defendant HF Management Services, LLC,

(“Defendant”), by and through its undersigned counsel, hereby gives notice of removal of the

within action from the Supreme Court of the State of New York, New York County, where it

was assigned Index No. 157835/2024, to the United States District Court for the Southern

District of New York, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446.

         In support of its Notice of Removal, Defendant respectfully alleges as follows:

         1.        On or about August 7, 2023, Plaintiff Heather Cuccia filed a summons with notice

entitled Heather Cuccia v. HF Management Services LLC and Genesis Bayuelo-Perri in the

Supreme Court of the State of New York, New York County, Index No. 157835/2024 (the “State

Court Action”).

         2.        On information and belief, Plaintiff served the Summons with Notice upon the

Secretary of State for the State of New York on December 1, 2023, but the Secretary of State has

never forwarded the Summons with Notice to Defendant. Plaintiff has also filed an affidavit of

service averring that a copy of the Summons with Notice was mailed to Defendant’s offices at

100 Church Street, New York, New York on November 28, 2023, but that mail was not received



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by Defendant. In fact, Defendant did not receive notice of this action until March 13, 2023 when

Plaintiff’s counsel sent it by email to Katherine Ames, Associate General Counsel for

Healthfirst, Inc.

         3.        In accordance with the requirements of 28 U.S.C. § 1446, this Notice of Removal

is timely, having been filed within thirty (30) days of March 13, 2024, the date that Defendant

first received notice of the action.

         4.        Attached hereto as Exhibit A is a true and correct copy of all process, pleadings

and orders that have been transmitted to Defendant in the State Court Action, pursuant to 28

U.S.C. § 1446(a).

         5.        Defendant seeks removal of the State Court Action to this Court on the ground

that it is a civil action of which this Court has original jurisdiction under 28 U.S.C. § 1331 and it

is one which may be removed to this Court by Defendant pursuant to the provisions of 28 U.S.C.

§§ 1331, 1441(a), (b), (c), and 1446, in that it purports to state claims arising under federal law,

specifically Title VII of the Civil Rights Act of 1964; the Civil Rights Act, 42 U.S.C. § 1981;

and the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12101. These statutes are

mentioned in plaintiff’s notice, but no factual allegations have yet been advanced in a complaint.

         6.        This Notice of Removal is being filed in the United States District Court for the

Southern District of New York, the district court of the United States for the district and division

within which the State Court Action is pending, as required by 28 U.S.C. §§ 1441(a) and

1446(a).

         7.        No prior application has been made for this relief.

         8.        Defendant Genesis Bayuelo-Perri consents to the removal of this action.




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         9.        Upon filing of this Notice of Removal, Defendant shall promptly give written

notice thereof to Plaintiff’s counsel of record, Goddard Law PLLC, and shall file copies of this

Notice of Removal with the Clerk of the New York State Supreme Court for the County of New

York, pursuant to 28 U.S.C. §1446(d).

         10.       By filing this Notice of Removal, Defendant does not waive any defenses

available to it at law, in equity or otherwise.

         WHEREFORE, Defendant prays that this civil action be removed from the Supreme

Court of the State of New York, New York County, to this Court, the United States District

Court for the Southern District of New York, that this Court accept jurisdiction of this action

henceforth, and that this action be placed on the docket of this Court for further proceedings as

though the State Court Action had originally been instituted in this Court.

Dated: March 20, 2024
       Rye, New York
                                                        DORF NELSON & ZAUDERER, LLP


                                                  By:    /S/ Andrew P. Marks
                                                         Andrew P. Marks
                                                         David S. Warner
                                                         555 Theodore Fremd Avenue
                                                         Rye, New York 10580
                                                         (914) 381-7600
                                                         amarks@dorflaw.com
                                                         dwarner@dorflaw.com
                                                         Attorneys for Defendant



    To: Megan S. Goddard, Esa.
        Goddard Law PLLC
        39 Broadway, Suite 1540
        New York, NY 10006
         Attorneys for Plaintiff




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          Exhibit A
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          --------------------------------------------------------------------x
          HEATHER CUCCIA,                                                             Index No.:

                                                                                      SUMMONS WITH NOTICE
                                             Plaintiff,
                           -against -                                                 VENUE
                                                                                      New York County

          HF MANAGEMENT SERVICES, LLC d/b/a                                           BASIS OF VENUE
          HEALTHFIRST, INC. and GENESIS                                               Defendants’ Place of
          BAYUELO-PERRI,                                                              Business

                                              Defendants.
          --------------------------------------------------------------------x

          TO THE ABOVE-NAMED DEFENDANT(S):

                  YOU ARE HEREBY SUMMONED and required to serve upon Plaintiff’s attorney, at

          the address stated below, a notice of appearance or demand for a complaint.

                  If this Summons with Notice was personally served upon you in the State of New York,

          the notice of appearance or demand for complaint must be served within twenty (20) days after

          such service of the Summons with Notice, excluding the date of the service. If this Summons with

          Notice was not personally delivered to you within the State of New York, the notice of appearance

          or demand for complaint must be served within thirty (30) days after service of this Summons with

          Notice is completed as provided by law.

                  PLEASE TAKE NOTICE THAT the nature of this action is employment discrimination

          on the basis of Plaintiff’s race, color, national origin, disability, and retaliation, in violation of Title

          VII of the Civil Rights Act of 1964, as amended; the Civil Rights Act, 42 U.S.C. § 1981; the

          Americans with Disabilities Act of 1990, as Amended, 42 U.S.C. §§ 12101 et seq. (“ADA”), the

          New York State Human Rights Law; and the New York City Human Rights Law.




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                    The relief sought is: an amount to be determined at trial but in no event less than Two

          Million Five Hundred Thousand Dollars ($2,500,000.00) together with attorneys’ fees and interest

          thereon.

                    PLEASE TAKE FURTHER NOTICE that if you do not serve a notice of appearance or

          demand for a complaint within the applicable time limitation stated above, a judgment will be

          entered against you, by default, for the sum of Two Million Five Hundred Thousand Dollars

          ($2,500,000.00) together with interest, attorneys’ fees and the costs and disbursements of this

          action.

                    The action will be heard in the Supreme Court of the State of New York, in and for the

          County of New York. The basis for the venue is Defendants’ place of business.

          Dated: New York, New York
                August 7, 2023

                                                                      GODDARD LAW PLLC
                                                                      Attorneys for Plaintiff

                                                               By:    /s/ Megan S. Goddard
                                                                      Megan S. Goddard, Esq.
                                                                      39 Broadway, Suite 1540
                                                                      New York, New York 10006
                                                                      (646) 964-1178
                                                                      Megan@goddardlawnyc.com

          TO:       HF MANAGEMENT SERVICES, LLC d/b/a
                    HEALTHFIRST, INC.
                    100 Church Street, #17
                    New York, New York 10007

                    GENESIS BAYUELO-PERRI,
                    c/o HF MANAGEMENT SERVICES, LLC d/b/a
                    HEALTHFIRST, INC.
                    100 Church Street, #17
                    New York, New York 10007




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